

Matter of 2187 Units, LLC v Stringfellow (2025 NY Slip Op 01331)





Matter of 2187 Units, LLC v Stringfellow


2025 NY Slip Op 01331


Decided on March 11, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 11, 2025

Before: Webber, J.P., Kapnick, González, Scarpulla, Michael, JJ. 


Index No. 812213/23|Appeal No. 3867, 3868|Case No. 2023-05325, 2024-00646|

[*1]In the Matter of 2187 Units, LLC, et al., Petitioners-Appellants,
vMichael Stringfellow, et al., Respondents-Respondents, Rosa Durand, et al., Defendants.


Goldstein &amp; Greenlaw, LLP, Forest Hills (Andrew Schwarsin of counsel), for appellants.
O'Hagan Meyer, LLC, New York (Elizabeth Del Cid of counsel), for respondents.



Order, Supreme Court, Bronx County (Naita A. Semaj, J.), entered on or about October 5, 2023, which denied the petition to set aside the election of directors of respondent cooperative board pursuant to Business Corporation Law § 619 and for attorneys' fees, and order, same court and Justice, entered on or about November 13, 2023, which denied petitioners' motion to enjoin respondents from certifying the election, unanimously affirmed, without costs.
The court properly denied petitioners' motion to set aside the July 2023 election of the board of directors of respondent cooperative and to direct respondents to hold a new election. Petitioners failed to show that there was any violation of their Business Corporation Law § 605 (a) right to timely notice of meetings or that there were any relevant irregularities in the notice and conducting of the 2023 annual meeting or the related cooperative board election.
The court also properly declined to address respondents' Business Corporation Law § 619 argument as it was not raised in the petition.
Petitioners' request for an award of attorneys' fees was properly denied, and we decline to award respondents the attorneys' fees they incurred in this appeal.THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 11, 2025








